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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,
                                        Case No. 1:20-cv-03010-APM
v.
                                        HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,
                                        Case No. 1:20-cv-03715-APM
v.
                                        HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.




                   EXECUTIVE SUMMARY OF PLAINTIFFS’
                   REVISED PROPOSED FINAL JUDGMENT
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I.     Introduction

       Google is the gateway to the internet. Its search engine provides instant results. The

importance of those results to modern commerce and communication means that every single

day, the American people depend on Google. For their everyday needs. For their emergencies. In

their search to find valuable results to minor queries or questions of profound significance,

Americans have learned to “Google it.”

       The American people’s reliance on Google’s search engine is well-known. Less

understood, however, is how Google—through its unlawful and unchecked, monopolistic

conduct over the past decade—secured the American people’s reliance. Google’s anticompetitive

conduct has denied users of a basic American value—the ability to choose in the marketplace.

Through its sheer size and unrestricted power, Google has robbed consumers and businesses of a

fundamental promise owed to the public—their right to choose among competing services.

Google’s illegal conduct has created an economic goliath, one that wreaks havoc over the

marketplace to ensure that—no matter what occurs—Google always wins. American consumers

and businesses suffer from Google’s conduct. The consumer is deprived of marketplace

competition that drives down prices and spurs innovation amongst competitors. Businesses

struggle to innovate and survive as they are subjected to the wrath of an unlawful monopolist.

The American people thus are forced to accept the unbridled demands and shifting, ideological

preferences of an economic leviathan in return for a search engine the public may enjoy. The

path to monopolies often begins with free goods and the promise of an exciting future and ends

under the control of an economic “autocrat of trade.” Simply put, when the product is free, the

American people are the product. For years, Google has been allowed to maintain its status as a

monopolist without issue.
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       Yet, monopolies are incompatible with free markets and freedom more generally. The

American dream is about higher values than just cheap goods and “free” online services. These

values include freedom of speech, freedom of association, freedom to innovate, and freedom to

compete in a market undistorted by the controlling hand of a monopolist. Google’s conduct

presents genuine danger to freedom in the marketplace and to robust competition in our

economy. These concerns prompted the United States and Plaintiff States to sue Google in 2020.

       And against these market realities, the Court found Google liable under Section 2 of the

Sherman Act for maintaining monopolies in U.S. general search services and U.S. general search

text advertising. Mem. Op., United States et al. v. Google LLC, 20-cv-3010 (APM), ECF No.

1032, at 276 (“Mem. Op.”). The Court’s detailed liability opinion on August 5, 2024,

meticulously describes the harms that Google’s unlawful conduct has created in these critical

digital marketplaces. See, e.g., Mem. Op. at 3 (“[M]ost devices in the United States come

preloaded exclusively with Google. These distribution deals have forced Google’s rivals to find

other ways to reach users.”); id. at 25, 226, 236–42 (Google has controlled the most popular

distribution channels for more than a decade, leaving rivals with little-to-no incentive to compete

for users); id. at 233 (rivals cannot compete for these distribution channels because Google’s

monopoly-funded revenue share payments disincentivize its partners from diverting queries to

Google’s rivals).

       On November 20, 2024, Plaintiffs filed their Initial Proposed Final Judgment (“IPFJ”).

Plaintiffs’ IPJF focused on restoring competition in the general search services and general

search text advertising markets, addressing the scale advantage that Google’s unlawful monopoly

maintenance afforded it, and preventing Google from circumventing the remedy by other means,

such as leveraging the fast-evolving AI space to further entrench its general search services and



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general search text advertising monopolies. Those interconnected and self-reinforcing remedies

sought to: (1) stop and prevent exclusion; (2) prevent Google from self-preferencing; (3) disclose

data critical to restoring competition; (4) increase transparency and control for advertisers;

(5) end Google’s unlawful distribution; and (6) allow for the enforcement of the proposed

judgment while preventing circumvention.1 Of particular note, Plaintiffs’ IPFJ prohibited Google

from making search-related payments to its search distribution partners, required Google to

divest Chrome—a critical search access point through which more than 30 percent of search

inquiries are routed—and contained a contingent Android divestiture at Google’s or the Court’s

election.

        Now, with the benefit of further remedies discovery, and consistent with the Court’s

September 18, 2024 Scheduling Order, see ECF No. 1043, Plaintiffs respectfully submit their

Revised Proposed Final Judgment (“RPFJ”), attached as Exhibit A. Plaintiffs’ RPFJ maintains

the core components of the initial proposal, namely the prohibition on search-related payments to

distribution partners that have effectively frozen the ecosystem for over a decade, raised

insurmountable barriers to new entry, and created a system dependent on Google’s monopoly

payments. The RPFJ reaffirms Plaintiffs’ proposal to end such payments, while making minor

clarifications to minimize unintended consequences, and to also allow for Apple to receive

payments unrelated to search. In addition, the RPFJ also reaffirms that Google must divest the




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    In stark contrast, Google offered a competing Initial Proposed Final Judgment that ignores the
    Court’s factual findings and legal holdings and instead preserves the status quo—containing
    only modest changes to its distribution contracts with Apple, carriers, OEMs and third-party
    distributors. Google’s proposal falls woefully short of restoring competition to markets that
    have been harmed by Google’s unlawfully entrenched monopolies and is inconsistent with
    remedies caselaw. See ECF No. 1108-1.


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Chrome browser—an important search access point—to provide an opportunity for a new rival

to operate a significant gateway to search the internet, free of Google’s monopoly control.

       Although the core components of Plaintiffs’ final judgment remain, a few significant

items have changed. As detailed further below, Plaintiffs no longer seek the mandatory

divestiture of Google’s AI investments in favor of a prior notification for future investments and

have modified the ads syndication remedy to focus on parity, transparency, and control, while

removing the query volume limitation and implementing marginal cost pricing only as

contingent relief if Plaintiffs’ other remedies are not effective at restoring competition. Plaintiffs

also make additional clarifying changes to the self-preferencing sections in order to resolve

ambiguities, prevent unintended consequences, and address the Court’s concern that Plaintiffs’

IPFJ lacked sufficient detail in some areas. See Jan. 17, 2025 Status Hearing Tr. (attached as

Exhibit B) at 39-42, 87-89. For the Court’s convenience, a redline to Plaintiffs’ IPFJ is attached

as Exhibit C.

II.    In Fulfilling Its Duty to Order Effective Relief, This Court Has Broad Discretion To
       Fashion A Remedy

       Under 15 U.S.C. § 4, the United States has the “duty” to institute proceedings in equity to

“prevent and restrain” Sherman Act violations, including monopolization. And having found that

Google unlawfully monopolized the general search services and general search text advertising

markets, “it is the duty of the court to prescribe relief” terminating those monopolies and

preventing their recurrence. United States v. United Shoe Mach. Corp., 391 U.S. 244, 250

(1968); see also United States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950) (the court has the

“duty” to impose a remedy to “cure the ill effects of the illegal conduct, and assure the public

freedom from its continuance”). This Court has “broad discretion to enter that relief it calculates

will best remedy the conduct it has found to be unlawful.” United States v. Microsoft Corp., 253


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F.3d 34, 105 (D.C. Cir. 2001). Moreover, “‘it is well settled that once the Government has

successfully borne the considerable burden of establishing a violation of law, all doubts as to the

remedy are to be resolved in its favor.’” Ford Motor Co. v. United States, 405 U.S. 562, 575

(1972) (quoting United States v. E.I. du Pont de Nemours & Co., 366 U.S. 316, 334 (1961)).

       The “key to the whole question of an antitrust remedy is of course the discovery of

measures effective to restore competition.” du Pont, 366 U.S. at 326. Otherwise, “the

Government has won a lawsuit and lost a cause.” Int’l Salt Co. v. United States, 332 U.S. 392,

401 (1947). The remedy “should unfetter a market from anticompetitive conduct and pry open to

competition a market that has been closed by defendants’ illegal restraints.” Ford Motor, 405

U.S. at 577-78 (emphasis added) (quotation marks omitted). The remedy should have a

“comprehensive” and “unitary framework” to restore competition with provisions “intended to

complement and reinforce each other.” See New York v. Microsoft Corp., 531 F. Supp. 2d 141,

170 (D.D.C. 2008). The remedy must (1) unfetter the search and related advertising from the

harm that Google’s exclusionary conduct caused, (2) “terminate the illegal monopol[ies],” (3)

“deny to [Google] the fruits of its statutory violations,” and (4) ensure there remain no practices

in place during the judgment period that are likely to result in Google monopolizing these

markets in the future. See Microsoft, 253 F.3d at 103 (quoting Ford Motor, 405 U.S. at 577, and

United Shoe, 391 U.S. at 250). This Court “is clothed with ‘large discretion’” in adopting

remedial provisions that meet these distinct ends. Ford Motor, 405 U.S. at 573 (quoting Int’l Salt

Co. v. United States, 332 U.S. 392, 401 (1947)).

       Because antitrust remedies are not limited to eradicating existing evils, it is “entirely

appropriate” for an injunction to “go[] beyond a simple proscription against the precise conduct

previously pursued.” Nat’l Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 698 (1978). A



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decree can include “forward-looking provisions” to restore competitive conditions, Mass. v.

Microsoft, 373 F.3d 1199, 1215-25 (D.C. Cir. 2004), and to “eliminat[e] the consequences of the

illegal conduct.” Nat’l Soc’y of Prof’l Eng’rs, 435 U.S. at 698. In addition, the remedy may

restrict otherwise lawful conduct “to preclude the revival of the illegal practices,” FTC v. Nat’l

Lead Co., 352 U.S. 419, 430 (1957), and the court has “‘broad power to restrain acts which are

of the same type or class as unlawful acts which the court has found to have been committed.’”

Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 132 (1969) (quoting N.L.R.B. v.

Express Publishing Co., 312 U.S. 426, 435 (1941)). A remedy going beyond a proscription of the

specific exclusionary conduct identified in this Court’s liability opinion is necessary to restore

competition to the monopolized markets here. “Network effects” and “data feedback loops”—

both of which played a prominent role in the Court’s liability finding2—have amplified the

effects of anticompetitive conduct in these markets, entrenching monopoly power. Mem. Op. at

8-9; see Microsoft, 253 F.3d at 55 (network effects create a “chicken-and-egg” situation in which

the dominant platform becomes difficult to dislodge); see also Schine Chain Theaters, Inc. v.

United States, 334 U.S. 110, 128 (1948) (“If all that was done was to forbid a repetition of the

illegal conduct, those who had unlawfully built their empires could preserve them intact. They

could retain the full dividends of their monopolistic practices and profit from the unlawful

restraints of trade which they had inflicted on competitors.”).

        Plaintiffs look forward to engaging further with the Court on the legal standard during

trial and in pre- and post-trial briefing.




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    See, e.g., Mem. Op. at 226 (“Scale is the essential raw material for building, improving, and
    sustaining a GSE.”).
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III.    Plaintiffs’ Revised Proposed Final Judgment

        On November 20, 2024, Plaintiffs filed their IPFJ. See generally ECF Nos. 1062 and

1062-1. Our RPFJ continues to, among other things: prohibit Google (with limited exceptions)

from making search-related payments to Apple and non-Apple search distribution partners, see

RPFJ ¶¶ IV(A)-(B); require Google to divest Chrome—a critical distribution point—to shield

against self-preferencing, see RPFJ ¶ V(A); contain a contingent Android divestiture provision,

see RPFJ ¶ V(C); and require Google to share data to offset the scale disadvantage that its

unlawful conduct has created, see RPFJ ¶ VI. The RPFJ changes insofar as it substitutes

notification for prohibition of AI investments, no longer requires immediate marginal-cost

pricing for ad syndication or offers Google the option of divesting Android now, and makes

additional clarifying changes aimed to resolve ambiguities, prevent unintended consequences,

and address the Court’s concerns.

        A.     Remedies To Stop And Prevent Exclusionary Third-Party Agreements

        An effective remedy must prevent Google from executing contracts that foreclose or

otherwise exclude competing general search engines and potential entrants, including by raising

their costs, discouraging their distribution, or depriving them of competitive access to inputs. To

that end, Plaintiffs’ proposed remedies have not changed from the IPFJ as a substantive matter,

other than to allow Google to make non-search-related payments to Apple.

        As detailed in Section IV, the RPFJ prohibits Google from providing third parties

something of value (including financial payments) in order to make Google the default general

search engine or otherwise discourage those third parties from offering competing search

products. See Mem. Op., at 216 (finding “Google’s distribution agreements are exclusionary

contracts that violate Section 2” and “’clearly have a significant effect in preserving [Google’s]

monopoly.’”) (alteration in original) (quoting Microsoft Corp., 253 F.3d 34 at 79)) (see also id.

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at 106 (“Absent such causation, the antitrust defendant’s unlawful behavior should be remedied

by “an injunction against continuation of that conduct.”). Based on the Court’s input and

comments, Plaintiffs have modified and clarified language contained in the initial proposal

related to economic incentives that the Court identified as potentially vague. See RPFJ ¶ IV(G).

       The RPFJ also prohibits Google from entering exclusive agreements with content

publishers; bundling, tying, or commingling its general search engine or search access point with

any other Google product; entering revenue share agreements related to the distribution of

general search services; or participating in investments in, collaborations with, or acquisitions of

its competitors or potential competitors in the general search services or general search text ads

markets without prior notification to Plaintiffs. Each of these remedies are designed to end

Google’s unlawful practices and open up the market for rivals and new entrants to emerge.

       B.      Prohibited Ownership And Control That Enables Self-Preferencing

       An effective remedy must safeguard against further market foreclosure and the exclusion

of rivals through the use of self-preferencing. To that end, the RPFJ continues to require Google

to divest Chrome. See RPFJ ¶ V(A). See also Mem. Op. at 159 (Chrome default is “a market

reality that significantly narrows the available channels of distribution and thus disincentivizes

the emergence of new competition.”). In contrast, evidence gleaned from remedies discovery

indicates a risk that prohibiting Google from owning or acquiring any investment or interest in

any search or search text ad rival, search distributor, or rival query-based AI product or ads

technology could cause unintended consequences in the evolving AI space. Plaintiffs are no

longer advocating for this specific remedy; however, they continue to be concerned about

Google’s potential to use its sizable capital to exercise influence in AI companies. As a result,

Plaintiffs included an advance notification provision to permit a review of proposed transactions.

See RPFJ ¶ IV(I).
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        Finally, Plaintiffs’ RPFJ continues to provide for further contingent structural relief—the

divestiture of Android—if Plaintiffs’ proposed conduct remedies are not effective in preventing

Google from improperly leveraging its control of the Android ecosystem to its advantage, or if

Google attempts to circumvent the remedy package. See RPFJ ¶ V(C); United Shoe, 391 U.S. at

249–51 (If “the decree had not achieved the adequate relief to which the Government is entitled

in a § 2 case, it would have been the duty of the court to modify the decree so as to assure the

complete extirpation of the illegal monopoly.”).3 However, Plaintiffs are no longer requesting a

provision that allows Google to divest Android at the outset in lieu of adhering to the

requirements of Section V as they relate to Android. Compare IPFJ ¶ V(B) with RPFJ ¶ V.

        C.      Conduct Remedies That Prevent Self-Preferencing

        An effective remedy must also ensure that Google cannot circumvent the Court’s remedy

by providing its search products preferential access to related products or services that it owns or

controls, including mobile operating systems (e.g., Android), apps (e.g., YouTube), or AI

products (e.g., Gemini) or related data. This aspect of Plaintiffs’ RPFJ has not substantively

changed, although it removes certain language that created ambiguity and could result in

unintended consequences. See RPFJ ¶ V(B).

        As noted in Section V, the RPFJ prohibits, among other things, Google from using any

owned or operated asset to preference its general search engine or search text ad products. The

RPFJ further prohibits Google from engaging in conduct that undermines, frustrates, interferes

with, or in any way lessens the ability of a user to discover a rival general search engine, limits

the competitive capabilities of rivals, or otherwise impedes user discovery of products or services

that are competitive threats to Google in the general search services or search text ads markets.


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    As the Court in Microsoft recognized, “conduct remedies may be unavailing” in cases such as
    this, where “years have passed since [Google] engaged in the first conduct.” 253 F.3d at 49.
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See RPFJ ¶ V(B); see also Mem. Op. at 210 (finding that Google’s contractual requirements that

“all Android devices featuring the Google Search Widget and Chrome on the home screen to the

exclusion of rivals” was an unlawful exclusive agreement).

       D.      Restoring Competition Through Syndication And Data Access

       Data at scale is the “essential raw material” for “building, improving and sustaining” a

competitive GSE. Mem. Op. at 226 (finding that “Google’s exclusive agreements…deny rivals

access to user queries, or scale, needed to effectively compete.”). Through its unlawful behavior,

Google has accumulated a tremendous amount of data over many years, at the expense of its

rivals. Id. Plaintiffs’ RPFJ aims to correct this anticompetitively acquired advantage. Of

particular note, the data sharing remedies have not changed as a substantive matter since

Plaintiffs filed our IPFJ; however, they contain additional detail, consistent with the Court’s

observation that the data remedies lacked sufficient detail. See RPFJ ¶¶ VI(A)-(F); see, e.g.,

January 17, 2025 Status Hearing Transcript at 39-42, 87-88.

       In addition, and as it relates to search text ads, the RPFJ no longer requires Google to

immediately price search text ads syndicated to Qualified Competitors at marginal cost, nor does

it limit Qualified Competitors to syndicating 25 percent or less of their search text ads from

Google. Instead, the RPFJ focuses on providing parity, transparency, and control to Qualified

Competitors syndicating search text ads from Google and marginal cost pricing for ad

syndication. Compare IPFJ ¶ VII(B) with RPFJ ¶ VII(D) & VIII(E).

       As set forth in Section VI, the RPFJ requires Google, among other things, to make critical

portions of its search index available at marginal cost, and on an ongoing basis, to rivals and

potential rivals; and also requires Google to provide rivals and potential rivals both user-side and

ads data for a period of ten years, at no cost, on a non-discriminatory basis, and with proper

privacy safeguards in place. Section VI further requires that Google provide to publishers,
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websites and content creators crawling data rights (such as the ability to opt out of having their

content crawled for the index or training of large language models or displayed as AI-generated

content).

       To remove barriers to entry and erode Google’s unlawfully gained scale advantages,

Section VII requires Google to syndicate (subject to certain restrictions) its search results,

ranking signals, and query understanding information for 10 years. See Mass., 373 F.3d at 1218

(disclosure of APIs “represent[ed] a reasonable method of facilitating the entry of competitors

into a market from which Microsoft’s unlawful conduct previously excluded them” (internal

quotation omitted)). The RPFJ only requires Google to syndicate queries that originate in the

United States. See RPFJ ¶ VII(B).

       E.      Restoring Competition By Improving Text Ad Transparency And Reduction
               Of Switching Costs

       While they contain some additional details, the IPFJ’s proposed remedies regarding text

ad transparency have not substantively changed since filing our IPFJ. See RPFJ ¶ VIII. As noted

above, however, Paragraph VIII(E) requires Google to provide Qualified Competitors

nondiscriminatory, pari passu access to syndicated search text ads and ensuring Qualified

Competitors have control over and visibility into the ads appearing on the Qualified

Competitor’s sites.

       Notably, Google’s unlawful maintenance of its general search text advertising monopoly

has undermined advertisers’ choice of search providers as well as rivals’ ability to monetize

search advertising and has enabled Google to “profitably charge supracompetitive prices for

[search] text advertisements” while “degrad[ing] the quality of its text advertisements” and the

related services and reporting. Mem. Op. at 258-64 (finding “Google’s text ads product has

degraded” and “advertisers receive less information in search query reports.”). As set forth in


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    Section VIII, Plaintiffs’ RPFJ will help address these harms by providing advertisers with the

    information and, options providing, visibility into the performance and cost of Google Text Ads

    necessary to optimize their advertising across Google and its rivals. In particular, the RPFJ

    requires Google to include fulsome and necessary real-time performance information about ad

    performance and costs in its search query reports to advertisers and further requires Google to

    increase advertiser control by improving keyword matching options to advertisers. Mem. Op. at

    263–64 (finding Google degraded SQR content and reduced control over keyword matching).

           The RPFJ also prohibits Google from limiting the ability of advertisers to export search

    text ad data and information for which the advertiser bids on keywords and further requires that

    Google provide to the Technical Committee and Plaintiffs a monthly report outlining any

    changes to its search text ads auction and its public disclosure of those changes. See RPFJ ¶¶

    VIII(C)-(D).

           F.      Limitations On Distribution And User Notifications To Restore Competition

           A comprehensive and unitary remedy in this case must also undo the effects on search

    distribution. See Mem. Op. at 3 (“[M]ost devices in the United States come preloaded

    exclusively with Google. These distribution deals have forced Google’s rivals to find other ways

    to reach users.”). To that end, Plaintiffs’ proposed remedies have not changed from the IPFJ as a

    substantive matter, as the record evidence continues to support them.

           To remedy these harms, the RPFJ requires Google to divest Chrome, which will

    permanently stop Google’s control of this critical search access point and allow rival search

    engines the ability to access the browser that for many users is a gateway to the internet.4 In



4
    Once the Court orders divestiture, the Plaintiffs will submit a detailed proposed order setting
    forth the process by which divestiture can be efficiently accomplished, including through the
    appointment of a Divestiture Trustee. Such a two-step process has been used in the past. See,
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addition, the RPFJ contains multiple provisions that will limit Google’s distribution of general

search services by contract with third-party devices and search access points (e.g., Samsung

devices, Safari, Firefox) and via self-distribution on Google devices and search access points

(e.g., Pixel) which will facilitate competition in the markets for general search services and

search text advertising. These provisions are designed to end Google’s unlawful distribution

agreements, ensure that Google cannot approximate its unlawful practices with updated

contracts, and eliminate anticompetitive payments to distributors, including Apple. As set forth

in Section IV, the RPFJ prohibits Google from offering Apple anything of value for any form of

default, placement, or preinstallation distribution (including choice screens) related to general

search or a search access point. See Mem. Op. at 238, 240–44 (“Apple, a fierce potential

competitor, remains on the sidelines due to the large revenue share payments it receives from

Google”). As set forth in Section IX, for non-Apple distributors and third-party devices, the

RPFJ similarly prohibits—with limited exceptions—Google from offering anything of value for

any form of default, placement, or preinstallation distribution (including choice screens) related

to general search or a search access point.

       The RPFJ further prohibits Google from preinstalling any search access point on any new

Google device and requires it to display a choice screen on every new and existing instance of a

Google browser where the user has not previously affirmatively selected a default general search

engine. The choice screens must be designed not to preference Google and to be accessible, easy

to use, and minimize choice friction, based on empirical evidence of consumer behavior, among

other requirements.




e.g., Steves and Sons, Inc. v. JELD-WEN, Inc., 988 F.3d 690, 722 (4th Cir. 2021) (discussing
district court’s two-step process).
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       User choice will be improved when users better understand the benefits that Google’s

rivals can provide. For that reason, Colorado Plaintiff States have included a provision requiring

Google to fund a nationwide advertising and education program designed to encourage informed

consumer choices. This provision has not changed substantively from the IPFJ. The fund’s

purpose is to enhance the effectiveness of distribution remedies by informing consumers of the

outcome of this litigation and the remedies in the Final Judgment designed to increase user

choice. The program may include short-term incentive payments to individual users as a further

incentive to engage with and develop informed views on the merits of different general search

engines.

       G.      Administration, Anti-circumvention, and Anti-retaliation

       A remedy that prevents and restrains monopoly maintenance will require administration

as well as protections against circumvention and retaliation, including through novel paths to

preserving dominance in the monopolized markets. As set forth in Section X, Plaintiffs’ RPFJ

requires Google to appoint an internal Compliance Officer and establishes a Technical

Committee to assist Plaintiffs and the Court in monitoring Google’s compliance. See United

States v. Microsoft, Civ. No. 98-1232 (CKK), 2002 U.S. Dist. LEXIS 22864, at *22 (D.D.C.

Nov. 12, 2002) (establishing a Technical Committee to “to assist in enforcement of and

compliance with this Final Judgment.”). This section of the RPFJ has not changed and provides

Plaintiffs tools to investigate complaints about Google’s compliance and prohibits Google from

taking retaliatory or circumventing actions.

                                  ⁕              ⁕               ⁕

       Consistent with remedies case law, Plaintiffs’ RPFJ will pry open the markets that

Google unlawfully monopolized for more than a decade, while further thwarting Google’s ability

to circumvent those remedies in the future in this ever and fast-evolving digital space. Plaintiffs
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look forward to engaging with the Court on their proposal at trial and in pre- and post-trial

briefing.




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Dated: March 7, 2025                   Respectfullly submitted,


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